                            UNITED STATES DISTRICT COURT                        Motion GRANTED.
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
               Plaintiff,                          )
                                                   )          3:19-CV-0123
                                                        No. ________________
       v.                                          )
                                                   )
OAKLEY PHARMACY, INC., d/b/a                       )
DALE HOLLOW PHARMACY; XPRESS                       )
PHARMACY OF CLAY COUNTY, LLC;                      )
THOMAS WEIR; MICHAEL GRIFFITH;                     )
JOHN POLSTON, and LARRY LARKIN,                    )    FILED EX PARTE
                                                   )     AND UNDER SEAL
Defendants.                                        )

              UNITED STATES’ EX PARTE MOTION FOR A TEMPORARY
              RESTRAINING ORDER AND A PRELIMINARY INJUNCTION

       Pharmacists frequently are the last line of defense before a controlled substance that was

prescribed without any legitimate medical purpose is sold to a patient.            The Defendant

pharmacies, pharmacists, and the pharmacies’ owner here failed to muster that defense. Between

at least January 2015 through August 2018, Defendant-pharmacies Oakley Pharmacy, Inc., doing

business as Dale Hollow (“Dale Hollow”), and Xpress Pharmacy of Clay County, LLC (“Xpress”),

illegally filled thousands of prescriptions for powerful opioid painkillers and other controlled

substances that had no legitimate medical purpose. The pharmacies’ majority owner, Defendant

Thomas Weir, was responsible for their operations. Defendants Michael Griffith, John Polston,

and Larry Larkin were the pharmacists who illegally filled those prescriptions. By filling those

thousands of illegitimate prescriptions, Defendants crossed the legal line between pharmacy

practice and violating the Controlled Substances Act (“CSA”). The United States files this

motion to stop Defendants from distributing or dispensing any more controlled substances.



       Plaintiff United States of America, therefore, respectfully moves the Court ex parte to issue

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